                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

 ALLEGHENY COUNTY EMPLOYEES’
 RETIREMENT SYSTEM, Individually and
 On Behalf of All Others Similarly Situated,       Case No.

                               Plaintiff,          COMPLAINT -- CLASS ACTION

                        v.                         JURY TRIAL DEMANDED

 ENERGY TRANSFER LP, KELCY L.
 WARREN, JOHN W. MCREYNOLDS, and
 THOMAS E. LONG,

                               Defendants.

       Plaintiff Allegheny County Employees’ Retirement System (“Plaintiff”), by and through

its counsel, alleges the following upon information and belief, except as to those allegations

concerning Plaintiff, which are alleged upon personal knowledge. Plaintiff’s information and

belief is based upon, inter alia, counsel’s investigation, which includes review and analysis of (i)

regulatory filings made by Energy Transfer LP (“Energy Transfer” or the “Partnership”) with the

United States Securities and Exchange Commission (“SEC”); (ii) press releases and media reports

issued and disseminated by the Partnership; (iii) analyst reports concerning the Partnership and its

subsidiaries; (iv) transcripts of Energy Transfer’s investor conference calls; and (v) other public

information regarding the Partnership.

                                  NATURE OF THE ACTION

       1.      Plaintiff brings this securities class action (the “Action”) against Energy Transfer

and certain of the Partnership’s senior executives under Sections 10(b) and 20(a) of the Securities

Exchange Act of 1934 (the “Exchange Act”) and SEC Rule 10b-5 on behalf of all investors who

purchased or otherwise acquired Energy Transfer common units between February 25, 2017 and

November 11, 2019, inclusive (the “Class Period”).
       2.      Founded in 2002, Energy Transfer operates, through its subsidiaries, as a Dallas,

Texas-based natural gas and energy transportation and storage company and operates some of the

largest oil and gas pipelines in the United States.         The Partnership owns and operates

approximately 12,200 miles of interstate natural gas pipelines and multiple natural gas storage

facilities across the United States.

       3.      Energy Transfer’s projects include the Mariner East pipeline, a multibillion-dollar,

350-mile pipeline that carries highly volatile natural gas liquids across 17 Pennsylvania counties,

including Allegheny County and four counties in this District: Lancaster County, Berks County,

Chester County, and Delaware County. According to the Partnership’s SEC filings, the Mariner

East pipeline transports natural gas liquids (“NGLs”) from the Marcellus and Utica Shales areas

in Western Pennsylvania, West Virginia and Eastern Ohio to destinations in Pennsylvania,

including the Partnership’s Marcus Hook Industrial Complex on the Delaware River in Delaware

County, where they are processed, stored and distributed to local, domestic and waterborne

markets.

       4.      The first phase of the project, referred to as Mariner East 1, consisted of interstate

and intrastate propane and ethane service and commenced operations in the fourth quarter of 2014

and the first quarter of 2016, respectively.

       5.      Energy Transfer obtained approval to construct the second phase of the project,

referred to as Mariner East 2, on February 13, 2017, after the Pennsylvania Department of

Environmental Protection (“PaDEP”) approved water-crossing and sedimentation permits for the

Mariner East 2 pipeline, which would transport natural-gas liquids across Pennsylvania to a

terminal in Marcus Hook. According to news sources, the permits were believed to be the final

regulatory hurdle to begin construction of the pipeline.



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       6.         Throughout the Class Period, Defendants repeatedly assured investors that Energy

Transfer had lawfully obtained valid permits to begin construction on Mariner East 2. In addition,

Energy Transfer represented through each of the Partnership’s publicly filed Forms 10-K and

Forms 10-Q throughout the Class Period, that Energy Transfer executives were bound by and

adhered to the Partnership’s Code of Ethics. The Partnership’s Code of Ethics explicitly forbids

executives from “authorizing payment of or to use Partnership Group funds or personal funds for

Sensitive Payments or other similar payment, whether lawful or unlawful, designed to secure

special treatment for the Partnership Group.”          Sensitive Payments include “payments to

government officials or employees,” “commercial bribes or kickbacks,” and “corporate political

contributions.”

       7.         Unknown to the investing public, Defendants, acting either independently or in

concert with the Pennsylvania Governor Tom Wolf’s administration, made use of coercion,

bribery, and/or other illicit means of forcing PaDEP to approve the construction permits that were

critical to the development of Mariner East 2.

       8.         On November 12, 2019, the Associated Press published a report titled, “FBI eyes

how Pennsylvania approved pipeline,” which reported that Energy Transfer’s Mariner East

pipeline project was under investigation by the Federal Bureau of Investigation (“FBI”). Citing

interviews with current and former state employees, the Associated Press reported that the FBI’s

investigation “involves the permitting of the pipeline, whether [Pennsylvania Governor Tom] Wolf

and his administration forced environmental protection staff to approve construction permits and

whether Wolf or his administration received anything in return.”

       9.         On this news, Energy Transfer’s unit price fell $0.81 per share, or 6.77%, over the

following two trading sessions, closing at $11.16 per share on November 13, 2019.



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       10.     As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Partnership’s common units, Plaintiff and other Class members have

suffered significant losses and damages.

                                 JURISDICTION AND VENUE

       11.     The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the

SEC (17 C.F.R. § 240.10b-5).

       12.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act.

       13.     Venue is proper in this Judicial District pursuant to Section 27 of the Exchange Act

(15 U.S.C. § 78aa(c)) and 28 U.S.C. § 1391(b). Defendants conduct business in this District and

the majority of Defendants’ actions and misconduct occurred within this District.

       14.     In connection with the acts alleged in this complaint, Defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not limited

to, the mails, interstate telephone communications, and the facilities of the national securities

markets.

                                            PARTIES

       15.     Plaintiff, as set forth in the attached Certification, acquired Energy Transfer

common units at artificially inflated prices during the Class Period and was damaged upon the

revelation of the alleged corrective disclosures.

       16.     Defendant Energy Transfer is a Delaware corporation with principal executive

offices located at 8111 Westchester Drive, Suite 600, Dallas, Texas 75225. Energy Transfer




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common units trade in an efficient market on the New York Stock Exchange (“NYSE”) under the

ticker symbol “ET.”

         17.   Defendant Kelcy L. Warren (“Warren”) has served as Energy Transfer’s Chief

Executive Officer at all relevant times. Warren also serves as Energy Transfer’s Chairman of the

Board.

         18.   Defendant John W. McReynolds (“McReynolds”) served as Energy Transfer’s

President from March 2005 to October 2018.

         19.   Defendant Thomas E. Long (“Long”) has served as Energy Transfer’s Chief

Financial Officer at all relevant times.

         20.   Defendants Warren, McReynolds, and Long are sometimes referred to herein as the

“Individual Defendants.”

         21.   The Individual Defendants possessed the power and authority to control the

contents of Energy Transfer’s SEC filings, press releases, and other market communications. The

Individual Defendants were provided with copies of Energy Transfer’s SEC filings and press

releases alleged herein to be misleading prior to or shortly after their issuance and had the ability

and opportunity to prevent their issuance or to cause them to be corrected. Because of their

positions with Energy Transfer, and their access to material information available to them but not

to the public, the Individual Defendants knew that the adverse facts specified herein had not been

disclosed to and were being concealed from the public, and that the positive representations being

made were then materially false and misleading. The Individual Defendants are liable for the false

statements and omissions pleaded herein.




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                                 SUBSTANTIVE ALLEGATIONS

                                           Background

       22.     Energy Transfer is a Dallas, Texas-based energy services partnership that was

founded in 2002. Energy Transfer, through its subsidiaries, operates inter/intrastate natural gas,

NGLs, and crude and refined oil transportation and storage as well as fractional services. The

Partnership was formerly known as Energy Transfer Equity, L.P. and changed its name to Energy

Transfer LP in October 2018. Energy Transfer operates as a subsidiary of LE GP, LLC.

       23.     Energy Transfer’s projects include the Mariner East pipeline, a multibillion-dollar

pipeline project to carry highly volatile natural gas liquids across Pennsylvania. According to the

Partnership’s SEC filings, the Mariner East pipeline transports NGLs from the Marcellus and Utica

Shales areas in Western Pennsylvania, West Virginia and Eastern Ohio to destinations in

Pennsylvania, including the Partnership’s Marcus Hook Industrial Complex on the Delaware

River, where they are processed, stored and distributed to local, domestic and waterborne markets.

The first phase of the project, referred to as Mariner East 1, consisted of interstate and intrastate

propane and ethane service and commenced operations in the fourth quarter of 2014 and the first

quarter of 2016, respectively.

       24.     On February 13, 2017, the PaDEP approved water-crossing and sedimentation

permits for the second phase of the Mariner East project, Mariner East 2, which would transport

natural-gas liquids across Pennsylvania to a terminal in Marcus Hook. According to news sources,

reporting on the proposed second phase of this project, Energy Transfer had experienced

challenges achieving approval of these permit applications in the past due to numerous deficiencies

and public concern over the environmental impact of the projects. As such, the speed at which the

Mariner East 2 permits were approved was surprising.



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        25.     Shortly thereafter, the Partnership began construction on Mariner East 2, which

ultimately became operational in December 2018.

         Materially False and Misleading Statements Issued During the Class Period

        26.     The Class Period begins on February 25, 2017. On February 24, 2017, during after-

market hours, Energy Transfer filed an Annual Report on Form 10-K with the SEC, reporting the

Partnership’s financial and operating results for the quarter and year ended December 31, 2016 (the

“2016 10-K”). With respect to the Partnership’s corporate governance, the 2016 10-K touted that

“[t]he Board of Directors has adopted both a Code of Business Conduct and Ethics applicable to

our directors, officers and employees, and Corporate Governance Guidelines for directors and the

Board” (emphasis added).

        27.     The 2016 10-K also noted that “[c]urrent copies of [the Partnership’s] Code of

Business Conduct and Ethics . . . are available on [the Partnership’s] website.”

        28.     The Code of Business Conduct and Ethics (the “Code”) found on Energy Transfer’s

website stated, in relevant part:

        It is against the policy of the Partnership Group to authorize payment of or to use
        Partnership Group funds or personal funds for Sensitive Payments or other
        similar payment, whether lawful or unlawful, designed to secure special treatment
        for the Partnership Group. It is also contrary to the policy of the Partnership Group
        to employ any intermediary to make such payments or to disguise such payment(s)
        as a commission, refund or in any other manner. Should an Employee become
        involved in any situation where (i) a request is made for any Sensitive Payment or
        any bribe, kickback or other payment the propriety of which is questionable, or
        where (ii) the Employee has any knowledge of payments being made to an agent
        which are in excess of reasonable fees for services rendered, it is the Employee’s
        responsibility to report the situation immediately to his/her immediate supervisor.

(Emphasis added.)

        29.     The Code defines a “Sensitive Payment” as “both receipt and disbursements

whether or not illegal,” and includes:



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       a) receipts from or payments to governmental officials or employees;
       b) commercial bribes or kickbacks;
       c) amounts received with an understanding that rebates or refunds will be made in
          contravention of the laws of any jurisdiction, either directly or through a third
          party;
       d) corporate political contributions; and
       e) payments or commitments (whether cast in the form of commissions, payments
          or fees for goods or services received or otherwise) made with the understanding
          or under circumstances that would indicate that all or part thereof is to be paid
          by the recipient to governmental officials or employees, or as a commercial
          bribe, influence payment or kickback.

(Emphasis added.)

       30.     In a section of the Code titled, “Payments and Gifts to Government Officials,” the

Code emphasizes that gifts or other items of value must not be provided to government officials in

connection with Partnership business without written approval, stating:

       Compliance with the Partnership’s Anti-Corruption Policy and the U.S. Foreign
       Corrupt Practices Act and other anti-corruption laws is required. What is acceptable
       in the commercial business environment may be entirely unacceptable in dealings
       with the government (U.S. or foreign). There are strict laws that govern providing
       gifts, including meals, entertainment, transportation and lodging, to certain
       government (U.S. or foreign) officials, employees and consultants. Because of the
       sensitive nature of these relationships, you should not provide gifts or anything of
       value to government officials, employees and consultants, or members of their
       families, in connection with Company business without written approval from the
       Company’s Chief Compliance Officer or the Company’s Legal Department.

       31.     In a section of the Code titled, “Ethical Behavior,” the Code states, in relevant part:

       Every Employee is expected to act with honesty and integrity, in good faith,
       responsibly, with due care, competence and diligence, without misrepresentation or
       omission of material facts, and without compromising their independent judgment.
       Each Employee is required to adhere to the highest ethical standards in fulfilling
       our responsibilities to, and on behalf of the Partnership Group and its investors.
       Each Employee is required to deal fairly and honestly with other employees,
       customers, vendors and third parties.

       32.     The 2016 10-K also assured investors that Energy Transfer had, presumably in a

lawful manner, obtained all applicable permits and other authorizations for the Partnership’s various

properties used for conducting its business, and that such permits were valid. Specifically, the 2016

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10-K stated, in relevant part, “[w]e believe that we have satisfactory title to or valid rights to use all

of our material properties” and that “that we have, or are in the process of obtaining, all required

material approvals, authorizations, orders, licenses, permits, franchises and consents of, and have

obtained or made all required material registrations, qualifications and filings with, the various state

and local government and regulatory authorities which relate to ownership of our properties or the

operations of our business.”

        33.      With respect to the Mariner East pipeline, the 2016 10-K stated, in relevant part:

        NGL Pipelines

        Sunoco Logistics owns approximately 900 miles of NGLs pipelines, primarily
        related to the Mariner systems in the northeast and southwest United States.

             The Mariner East pipeline transports NGLs from the Marcellus and Utica
              Shales areas in Western Pennsylvania, West Virginia and Eastern Ohio to
              destinations in Pennsylvania, including our Marcus Hook Industrial Complex
              on the Delaware River, where they are processed, stored and distributed to local,
              domestic and waterborne markets. The first phase of the project, referred to as
              Mariner East 1, consisted of interstate and intrastate propane and ethane service
              and commenced operations in the fourth quarter of 2014 and the first quarter of
              2016, respectively. The second phase of the project, referred to as Mariner East
              2, will expand the total takeaway capacity to 345,000 Bbls/d for interstate and
              intrastate propane, ethane and butane service, and is expected to commence
              operations in the third quarter of 2017.

                                              ***

         NGLs Terminals

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             Marcus Hook Industrial Complex. In 2013, Sunoco Logistics acquired Sunoco,
              Inc.’s Marcus Hook Industrial Complex. . . . In addition to providing NGLs
              storage and terminalling services to both affiliates and third-party customers,
              the Marcus Hook Industrial Complex currently serves as an off-take outlet for
              the Mariner East 1 pipeline, and will provide similar off-take capabilities for
              the Mariner East 2 pipeline when it commences operations.




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        34.     Appended as exhibits to the 2016 10-K were signed certifications pursuant to the

Sarbanes-Oxley Act of 2002 (“SOX”), wherein Defendants McReynolds and Long certified that

“[t]he [2016 10-K] fully complies with the requirements of Section 13(a) or 15(d) of the Securities

Exchange Act of 1934” and that “[t]he information contained in the [2016 10-K] fairly presents, in

all material respects, the financial condition and results of operations of the Partnership.”

        35.     On February 23, 2018, Energy Transfer filed an Annual Report on Form 10-K with

the SEC, reporting the Partnership’s financial and operating results for the quarter and year ended

December 31, 2017 (the “2017 10-K”). The 2017 10-K, as with the 2016 10-K, touted the

existence of the Code and its purported applicability to the Partnership’s directors, officers and

employees. The 2017 10-K also contained representations substantively identical to those quoted

in ¶ 33 above with respect to Energy Transfer’s purportedly valid permits obtained for properties

used in connection with its business.

        36.     Appended as exhibits to the 2017 10-K were signed SOX certifications, wherein

Defendants McReynolds and Long certified that “[t]he [2017 10-K] fully complies with the

requirements of Section 13(a) or 15(d) of the Securities Exchange Act of 1934,” and that “[t]he

information contained in the [2017 10-K] fairly presents, in all material respects, the financial

condition and results of operations of the Partnership.”

        37.     On May 3, 2018, Energy Transfer issued a press release, entitled “Mariner East 1

Released for Service by Pennsylvania Public Utility Commission,” that touted the benefits

provided by the Mariner East pipeline, its importance to the Pennsylvania local community, and

the Partnership’s resolution of recent regulatory hurdles that had stalled use of the pipeline.

Specifically, that press release stated, in relevant part:

        Energy Transfer . . . received a unanimous vote from the Pennsylvania Public
        Utility Commission (PUC) to resume operations of its Mariner East 1 pipeline.

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       SPLP has worked diligently with the PUC’s I&E Division and their outside experts
       on the matter for several weeks and is pleased that all investigations concur
       regarding the safety and integrity of the pipeline.

       ...

       Mariner East 1 is part of a larger public utility system including the Mariner East 2
       and Mariner East 2X pipelines, which are currently under construction. Mariner
       East 2 mainline construction is 98% complete and 93% of the HDDs are either
       complete, in-progress or have been released for restart.

       38.     On December 29, 2018, Energy Transfer issued a press release, entitled “Energy

Transfer Announces Mariner East 2 Pipeline Is in Service,” which also generally touted the

benefits provided by the Mariner East pipeline, its importance to the Pennsylvania local

community, and the pipeline’s availability for interstate and intrastate service.

       39.     On February 22, 2019, Energy Transfer filed an Annual Report on Form 10-K with

the SEC, reporting the Partnership’s financial and operating results for the quarter and year ended

December 31, 2018 (the “2018 10-K”). The 2018 10-K, as with the 2016 10-K and 2017 10-K,

touted the existence of the Code and its purported applicability to the Partnership’s directors,

officers and employees. The 2018 10-K also contained representations substantively identical to

those quoted in ¶ 33 above with respect to Energy Transfer’s purportedly valid permits obtained

for properties used in connection with its business, except that the 2018 10-K addressed the

Partnership’s properties generally, without reference to subsidiaries.

       40.     With respect to the Mariner East pipeline, Energy Transfer touted 670 miles of

liquids pipeline and a pipeline throughput capacity of 345 MBbls/d. In further discussing the

Mariner East pipeline and its history, the 2018 10-K contained representations substantively

identical to those quoted in ¶ 34 above, again removing references to its subsidiaries’ ownership

of relevant properties, and adding that service for the Mariner East 2 began in December 2018.




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       41.     Appended as exhibits to the 2018 10-K were signed SOX certifications, wherein

Defendants Warren and Long certified that “[t]he [2018 10-K] fully complies with the

requirements of Section 13(a) or 15(d) of the Securities Exchange Act of 1934,” and that “[t]he

information contained in the [2018 10-K] fairly presents, in all material respects, the financial

condition and results of operations of the Partnership.”

       42.     Finally, on April 23, 2019, Energy Transfer issued a press release, entitled “Energy

Transfer Announces Mariner East 1 Pipeline Is Back in Service,” which, as with the other press

releases discussed herein, generally touted the benefits provided by the Mariner East pipeline and

the Partnership’s resolution of recent regulatory hurdles that had stalled use of the pipeline.

Specifically, that press release stated, that Energy Transfer “worked closely with the Pennsylvania

Public Utility Commission Bureau of Investigation and Enforcement (BI&E) throughout an

extensive three-month investigation, through which Energy Transfer confirmed the integrity of the

pipeline in the area of West Whiteland Township, Chester County, PA. The investigation also

confirmed that at no time was Mariner East 1 ever destabilized in this area.”

       43.     The statements referenced in ¶¶ 27-42 were materially false and misleading, and

they failed to disclose material facts necessary to make the statements not false and misleading.

Specifically, Defendants willfully or recklessly made and/or caused the Partnership to make false

and misleading statements to the investing public that failed to disclose, inter alia, that (i) the

construction permits issued in connection with the Mariner East Pipeline were obtained by the

Partnership through the use of coercion, bribery, or other improper methods; (ii) the use of such

improper methods increased the risk that the Partnership would be subjected to government or

regulatory investigations and/or litigation, thereby depreciating the Partnership’s unit value; and




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(iii) as a result, the Partnership’s public statements were materially false and misleading at all

relevant times.

                                         The Truth Emerges

       44.        On November 12, 2019, the Associated Press published an article entitled “FBI

eyes how Pennsylvania approved pipeline.” The Associated Press article reported:

       The FBI has begun a corruption investigation into how Gov. Tom Wolf’s
       administration came to issue permits for construction on a multibillion-dollar
       pipeline project to carry highly volatile natural gas liquids across Pennsylvania, The
       Associated Press has learned.

       FBI agents have interviewed current or former state employees in recent weeks
       about the Mariner East project and the construction permits, according to three
       people who have direct knowledge of the agents’ line of questioning.

       All three spoke on condition of anonymity because they said they could not speak
       publicly about the investigation.

       The focus of the agents’ questions involves the permitting of the pipeline, whether
       Wolf and his administration forced environmental protection staff to approve
       construction permits and whether Wolf or his administration received anything in
       return, those people say.

       45.        On this news, Energy Transfer’s unit price fell $0.81 per share, or 6.77%, over the

following two trading sessions, closing at $11.16 per share on November 13, 2019.

       46.        As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Partnership’s common units, Plaintiff and other Class members have

suffered significant losses and damages.

                                        LOSS CAUSATION

       47.        During the Class Period, as detailed in this complaint, Defendants made materially

false and misleading statements and omissions, including statements regarding Energy Transfer’s

Mariner East 2 pipeline, and engaged in a scheme to deceive the market. This artificially inflated

the price of Energy Transfer common units and operated as a fraud or deceit on the Class. Later,

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when Defendants’ prior misrepresentations and risks concealed by the fraudulent conduct alleged

in this complaint materialized and were disclosed to the market, the price of Energy Transfer

common units fell precipitously. As a result of their acquisition of Energy Transfer common units

during the Class Period—and Defendants’ material misstatements and omissions—Plaintiff and

other members of the Class (defined below) suffered economic loss, i.e., damages, under the

federal securities laws.

                       PLAINTIFF’S CLASS ACTION ALLEGATIONS

       48.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or otherwise

acquired Energy Transfer common units during the Class Period (the “Class”); and were damaged

by the revelation of the alleged corrective disclosures. Excluded from the Class are Defendants

herein, the officers and directors of the Partnership, at all relevant times, members of their

immediate families and their legal representatives, heirs, successors or assigns and any entity in

which Defendants have or had a controlling interest.

       49.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Energy Transfer common units were actively traded

on the NYSE. While the exact number of Class members is unknown to Plaintiff at this time and

can be ascertained only through appropriate discovery, Plaintiff believes that there are hundreds

or thousands of members in the proposed Class. Record owners and other members of the Class

may be identified from records maintained by Energy Transfer or its transfer agent and may be

notified of the pendency of this action by mail, using the form of notice similar to that customarily

used in securities class actions.




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       50.     The members of the Class are so numerous that joinder of all members is

impracticable. The disposition of their claims in a class action will provide substantial benefits to

the parties and the Court. Energy Transfer has over 2.5 billion common units outstanding, owned

by at least hundreds or thousands of investors.

       51.     There is a well-defined community of interest in the questions of law and fact

involved in this case. Questions of law and fact common to the members of the Class, which

predominate over questions which may affect individual Class members, include:

               (a)     Whether Defendants violated the Exchange Act;

               (b)     Whether Defendants omitted and/or misrepresented material facts;

               (c)     Whether Defendants’ statements omitted material facts necessary in order

               to make the statements made, in light of the circumstances under which they were

               made, not misleading;

               (d)     Whether Defendants knew or recklessly disregarded that their statements

               and/or omissions were false and misleading;

               (e)     Whether Defendants’ misconduct impacted the price of Energy Transfer

               common units;

               (f)     Whether Defendants’ conduct caused the members of the Class to sustain

               damages; and

               (g)     The extent of damages sustained by Class members and the appropriate

               measure of damages.

       52.     Plaintiff suffered damages as a result of the violations of the federal securities laws

alleged herein that will ensure Plaintiff’s vigorous prosecution of the Class’ claims.




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       53.      Plaintiff’s claims are typical of those of the Class because Plaintiff and the Class

sustained damages from Defendants’ wrongful conduct.

       54.      Plaintiff will adequately protect the interests of the Class and has retained counsel

experienced in class action securities litigation. Plaintiff has no interests which conflict with those

of the Class.

       55.      A class action is superior to other available methods for the fair and efficient

adjudication of this controversy.

                   INAPPLICABILITY OF STATUTORY SAFE HARBOR

       56.      The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the false statements described in this complaint. Many of

the specific statements described in this complaint were not identified as “forward-looking” when

made. To the extent that there were any forward-looking statements, there was no meaningful

cautionary language identifying important factors that could cause actual results to differ

materially from those in the purportedly forward-looking statements. Alternatively, to the extent

that the statutory safe harbor does apply to any forward-looking statements described in this

complaint, Defendants are liable for those false forward-looking statements because at the time

each was made, the particular speaker knew that the particular forward-looking statement was false

or misleading, or the forward-looking statement was authorized or approved by an executive

officer of Energy Transfer who knew that the statement was false or misleading when made.

                                PRESUMPTION OF RELIANCE

       57.      At all relevant times, the market for Energy Transfer’s common units was an

efficient market for the following reasons, among others:




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               (a)    Energy Transfer common units met the requirements for listing and was

               listed and actively traded on the NYSE stock market, a highly efficient and

               automated market;

               (b)    Energy Transfer filed periodic public reports with the SEC and NYSE;

               (c)    Energy Transfer regularly and publicly communicated with investors via

               established market communication mechanisms, including through regular

               dissemination of press releases on the national circuits of major newswire services

               and through other wide-ranging public disclosures, such as communications with

               the financial press and other similar reporting services; and

               (d)    Energy Transfer was followed by securities analysts employed by numerous

               major brokerage firms, who wrote reports that were distributed to the sales forces

               and certain customers of their respective brokerage firms. Each of these reports

               was publicly available and entered the public marketplace.

       58.     As a result of the foregoing, the market for Energy Transfer common units promptly

digested current information regarding Energy Transfer from all publicly available sources and

reflected that information in the price of Energy Transfer common units.             Under these

circumstances, all purchasers of Energy Transfer common units during the Class Period suffered

similar injuries through their purchase of Energy Transfer common units at artificially inflated

prices, and the presumption of reliance applies.

       59.     A Class-wide presumption of reliance is also appropriate in this action under the

Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972),

because the Class’ claims are grounded on Defendants’ material omissions. Because this action

involves Defendants’ failure to disclose material adverse information regarding Energy Transfer’s



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business operations—information that Defendants were obligated to disclose—positive proof of

reliance is not a prerequisite to recovery. All that is necessary is that the facts withheld be material

in the sense that a reasonable investor might have considered them important in making investment

decisions. Given the importance of Energy Transfer’s Mariner East pipeline, as alleged above,

that requirement is satisfied here.

                                      CAUSES OF ACTION

                                              COUNT I

(Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated Thereunder
                                   Against All Defendants)

        60.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        61.     This Count is asserted against Defendants and is based upon Section 10(b) of the

Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

        62.     During the Class Period, Defendants engaged in a plan, scheme, conspiracy and

course of conduct, pursuant to which they knowingly or recklessly engaged in acts, transactions,

practices and courses of business which operated as a fraud and deceit upon Plaintiff and the other

members of the Class; made various untrue statements of material facts and omitted to state

material facts necessary in order to make the statements made, in light of the circumstances under

which they were made, not misleading; and employed devices, schemes and artifices to defraud in

connection with the purchase and sale of securities. Such scheme was intended to, and, throughout

the Class Period, did: (i) deceive the investing public, including Plaintiff and other Class members,

as alleged herein; (ii) artificially inflate and maintain the market price of Energy Transfer common

units; and (iii) cause Plaintiff and other members of the Class to purchase or otherwise acquire

Energy Transfer common units and options at artificially inflated prices. In furtherance of this

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unlawful scheme, plan and course of conduct, Defendants, and each of them, took the actions set

forth herein.

       63.      Pursuant to the above plan, scheme, conspiracy and course of conduct, each of the

Defendants participated directly or indirectly in the preparation and/or issuance of the quarterly

and annual reports, SEC filings, press releases and other statements and documents described

above, including statements made to securities analysts and the media that were designed to

influence the market for Energy Transfer common units. Such reports, filings, releases and

statements were materially false and misleading in that they failed to disclose material adverse

information and misrepresented the truth about Energy Transfer’s finances and business prospects.

       64.      By virtue of their positions at Energy Transfer, Defendants had actual knowledge

of the materially false and misleading statements and material omissions alleged herein and

intended thereby to deceive Plaintiff and the other members of the Class, or, in the alternative,

Defendants acted with reckless disregard for the truth in that they failed or refused to ascertain and

disclose such facts as would reveal the materially false and misleading nature of the statements

made, although such facts were readily available to Defendants. Said acts and omissions of

Defendants were committed willfully or with reckless disregard for the truth. In addition, each

Defendant knew or recklessly disregarded that material facts were being misrepresented or omitted

as described above.

       65.      Information showing that Defendants acted knowingly or with reckless disregard

for the truth is peculiarly within Defendants’ knowledge and control. As the senior managers

and/or directors of Energy Transfer, the Individual Defendants had knowledge of the details of

Energy Transfer’s internal affairs.




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       66.     The Individual Defendants are liable both directly and indirectly for the wrongs

complained of herein.     Because of their positions of control and authority, the Individual

Defendants were able to and did, directly or indirectly, control the content of the statements of

Energy Transfer.    As officers and/or directors of a publicly-held company, the Individual

Defendants had a duty to disseminate timely, accurate, and truthful information with respect to

Energy Transfer’s businesses, operations, future financial condition and future prospects. As a

result of the dissemination of the aforementioned false and misleading reports, releases and public

statements, the market price of Energy Transfer common units was artificially inflated throughout

the Class Period. In ignorance of the adverse facts concerning Energy Transfer’s business and

financial condition which were concealed by Defendants, Plaintiff and the other members of the

Class purchased or otherwise acquired Energy Transfer common units at artificially inflated prices

and relied upon the price of the common units, the integrity of the market for the common units

and/or upon statements disseminated by Defendants, and were damaged thereby.

       67.     During the Class Period, Energy Transfer common units were traded on an active

and efficient market. Plaintiff and the other members of the Class, relying on the materially false

and misleading statements described herein, which the Defendants made, issued or caused to be

disseminated, or relying upon the integrity of the market, purchased or otherwise acquired shares

of Energy Transfer common units at prices artificially inflated by Defendants’ wrongful conduct.

Had Plaintiff and the other members of the Class known the truth, they would not have purchased

or otherwise acquired said common units, or would not have purchased or otherwise acquired them

at the inflated prices that were paid. At the time of the purchases and/or acquisitions by Plaintiff

and the Class, the true value of Energy Transfer common units was substantially lower than the

prices paid by Plaintiff and the other members of the Class. The market price of Energy Transfer



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common units declined sharply upon public disclosure of the facts alleged herein to the injury of

Plaintiff and Class members.

       68.     By reason of the conduct alleged herein, Defendants knowingly or recklessly,

directly or indirectly, have violated Section 10(b) of the Exchange Act and Rule 10b-5

promulgated thereunder.

       69.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

other members of the Class suffered damages in connection with their respective purchases,

acquisitions and sales of the Partnership’s common units during the Class Period, upon the

disclosure that the Partnership had been disseminating misrepresented financial statements to the

investing public.

                                           COUNT II

    (Violations of Section 20(a) of the Exchange Act Against The Individual Defendants)

       70.     Plaintiff repeats and re-alleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

       71.     During the Class Period, the Individual Defendants participated in the operation

and management of Energy Transfer, and conducted and participated, directly and indirectly, in

the conduct of Energy Transfer’s business affairs. Because of their senior positions, they knew

the adverse non-public information about Energy Transfer’s misstatement of income and expenses

and false financial statements.

       72.     As officers and/or directors of a publicly owned company, the Individual

Defendants had a duty to disseminate accurate and truthful information with respect to Energy

Transfer’s financial condition and results of operations, and to correct promptly any public

statements issued by Energy Transfer which had become materially false or misleading.



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       73.     Because of their positions of control and authority as senior officers, the Individual

Defendants were able to, and did, control the contents of the various reports, press releases and

public filings which Energy Transfer disseminated in the marketplace during the Class Period

concerning Energy Transfer’s results of operations. Throughout the Class Period, the Individual

Defendants exercised their power and authority to cause Energy Transfer to engage in the wrongful

acts complained of herein. The Individual Defendants therefore, were “controlling persons” of

Energy Transfer within the meaning of Section 20(a) of the Exchange Act. In this capacity, they

participated in the unlawful conduct alleged which artificially inflated the market price of Energy

Transfer common units.

       74.     Each of the Individual Defendants, therefore, acted as a controlling person of

Energy Transfer. By reason of their senior management positions and/or being directors of Energy

Transfer, each of the Individual Defendants had the power to direct the actions of, and exercised

the same to cause, Energy Transfer to engage in the unlawful acts and conduct complained of

herein. Each of the Individual Defendants exercised control over the general operations of Energy

Transfer and possessed the power to control the specific activities which comprise the primary

violations about which Plaintiff and the other members of the Class complain.

       75.     By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by Energy Transfer.

                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

       A.      Determining that this action is a proper class action under Rule 23 of the Federal

Rules of Civil Procedure;




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